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                                                              United States Bankruptcy Court
                                                               Northern District of Indiana
In re:                                                                                                                 Case No. 24-10168-reg
Ruth Ann Barnes                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0755-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 11, 2024                                               Form ID: B318                                                             Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 13, 2024:
Recip ID                   Recipient Name and Address
db                     +   Ruth Ann Barnes, 321 West 17th Street, Marion, IN 46953-2276
15758596               +   Afena Federal CU, 424 N Bradner Ave, Marion, IN 46952-3336
15758598               +   Credit Bureau Collection Service, Lake Law Office, 308 South Boots, Marion, IN 46952-4009
15758599               +   Credit Bureau of Marion, Attention: Morris Kelsey, 514 South Adams Street, Marion, IN 46953-2069
15758603               +   Marion Health, PO Box 1826, Scottsbluff, NE 69363-1826
15758604               +   Medical Associates of Grant, 610 N River Dr, Marion, IN 46952-2649
15758613               +   World Finance Corp, 3306 S Western Ave, Marion, IN 46953-4201

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: INDWDBankruptcy@dwd.IN.gov
                                                                                        Jun 12 2024 01:04:00      Indiana Employment Security Division, 10 North
                                                                                                                  Senate Street, Indianapolis, IN 46204
cr                     + EDI: AGFINANCE.COM
                                                                                        Jun 12 2024 04:43:00      ONEMAIN FINANCIAL, PO BOX 3251,
                                                                                                                  EVANSVILLE, IN 47731-3251
15758597               + EDI: ATTWIREBK.COM
                                                                                        Jun 12 2024 04:43:00      AT & T Wireless, Po Box 6416, Carol Stream, IL
                                                                                                                  60197-6416
15758600                   Email/Text: bankruptcy@frost-arnett.com
                                                                                        Jun 12 2024 01:04:00      Frost-Arnett Company, Po Box 198988, Nashville,
                                                                                                                  TN 37219
15760269               + Email/Text: treasurer@grantcounty.net
                                                                                        Jun 12 2024 01:05:00      Grant County Treasurer, Grant County Complex,
                                                                                                                  401 South Adams, Suite A218, Marion IN
                                                                                                                  46953-2037
15758601               + Email/Text: bankruptcy@curo.com
                                                                                        Jun 12 2024 01:07:00      Heights Finance Corporation, PO Box 694,
                                                                                                                  Marion, IN 46952-0694
15760270                   Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                                     Jun 12 2024 01:07:00                         Indiana Department of Revenue, Bankruptcy
                                                                                                                  Section, 100 North Senate Avenue, N240,
                                                                                                                  Indianapolis IN 46204
15758602               + Email/Text: Bankruptcy@LLOYDMC.COM
                                                                                        Jun 12 2024 01:07:00      Lloyd & McDaniel , PLC, PO Box 23200,
                                                                                                                  Louisville, KY 40223-0200
15758606                   Email/Text: EBN@Mohela.com
                                                                                        Jun 12 2024 01:04:00      MOHELA/Dept of Ed, 633 Spirt Drive,
                                                                                                                  Chesterfield, MO 63005
15758605               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Jun 12 2024 01:05:00      Midland Funding LLC, 320 East Big Beaver, Suite
                                                                                                                  300, Troy, MI 48083-1271
15758608               + EDI: AGFINANCE.COM
                                                                                        Jun 12 2024 04:43:00      One Main, 3016 S western Ave, Ste B, Marion, IN
                                                                                                                  46953-3964
15758607               + EDI: AGFINANCE.COM
                                                                                        Jun 12 2024 04:43:00      One Main, 3016-B South Western Ave, Marion,
                                                                                                                  IN 46953-3964
15758609                   Email/Text: ksoto@pandbcapitalgroup.com
                                                                                        Jun 12 2024 01:04:00      P&B Capital Group LLC, 455 Center Rd, West
                                                                                                                  Seneca, NY 14224
15758611                   EDI: PRA.COM
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District/off: 0755-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jun 11, 2024                                           Form ID: B318                                                         Total Noticed: 23
                                                                                   Jun 12 2024 04:43:00     Portfolio Recovery Associates, PO Box 12914,
                                                                                                            Norfolk, VA 23541
15758610              + Email/Text: ruth.albright@marionhealth.com
                                                                                   Jun 12 2024 01:07:00     Physicians Billing of MGH, 330 North Wabash
                                                                                                            Ave, G-20, Marion, IN 46952-2605
15758612              + Email/Text: counsel@rcranelaw.com
                                                                                   Jun 12 2024 01:05:00     Robert Crane & Associates, LLC, 916 Main St, PO
                                                                                                            Box 151684, Anderson, IN 46015-1684

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 13, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 10, 2024 at the address(es) listed below:
Name                             Email Address
John Thomas Sees
                                 on behalf of Debtor 1 Ruth Ann Barnes sees@seeslaw.com seesjr85896@notify.bestcase.com

Mark A. Warsco
                                 bankruptcy@rlwlawfirm.com mwarsco@ecf.epiqsystems.com;IN67@ecfcbis.com;cwitters@rlwlawfirm.com

Nancy J. Gargula
                                 USTPRegion10.SO.ECF@usdoj.gov


TOTAL: 3
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Information to identify the case:
Debtor 1
                       Ruth Ann Barnes                                             Social Security number or ITIN   xxx−xx−3858
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Northern District of Indiana

Case number:          24−10168−reg

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Ruth Ann Barnes


             6/10/24                                                       By the court: Robert E. Grant
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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